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8TH JUDICIAL DISTRICT COURT

‘. UNION COUNTY NM
FILED IN MY OFFICE

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BERNABE P. STRUCK
DISTRICT COURT CLERK

big | th, __ JUDICIAL DISTRICT COURT Rhonda Aragon

STATE OF NEW MEXICO

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Plaintiff,

CIVIL No #?- -818-CV-2017- 00088
EMILIO J. CHAVEZ
District Judge, Division |

) COMPLAINT
(TORT)

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of Hoth raSlun AM de leatson an
PE Ags MhlSotacn'h ON:

2 We ene Whedwa Me cy. tef ldma, Ver.
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-b t tains (i tA q Aa le
This is a tort su [ “authorized by the New Mexico Tort Claims Act, Chapter 41 NM.S.A,

—

by a corrections department prisoner who seeks damages for the following:
(a) Medical Mal patel. bu Hag lps Arg au ub
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i. JURISDICTION

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2 fi hh tls | +L | District Court has jurisdiction in Tort actions pursuant to the New
Mexico Tort Claims Act N.M.S.A. Chapter 41. a Notice of Claim was previously filed

with the Risk Management Division pursuant to 41-4-16, N.M.S.A. (1978).

Hl. PARTIES

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EXHIBIT
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Case 1:18-cv-00453-RB-JHR Document 1-1 Filed 05/14/18 Page 3 of 10

 

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New MEXICO CORRECTIONS DEPARTMENT: APR 2 5 WY Ve
‘ | , HEALTH SERVICE REQUEST FORM a

"NAME Wt tl hk bn (he f DATE OF REQUEST IAS bo / 7
NMCD¥ LAU DOB Ye 7 Fsite UNIT CEA.

NATURE OF PROBLEM OR REQUEST (BE SPECIFIC) 7. Lin x Lo Atltithe Li 2 @
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NURSING PROTOCOL NUMBER tases ap
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Nurse's Signature Date Time
REFER TO:
—— PROVIDER = MENTAL HEALTH NURSING CLINIC DENTAL ___ADMINISTRATOR
Patient Name NMCD# DOB Facility
NMCD Approved Medical Record Section 2 (Madical) NMCD Form

Rev. 07/01/2012 Medicai Record Section 4 (Dental #213 Health Services Request - English
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Form CD-150501.1
Revised 01/25/12 Page 1

NEW MEXICO CORRECTIONS DEPARTMENT
INMATE GRIEVANCE

ae | NMCD#: dg d KG Grievance File #:

Housing Unit: « ) A all Date of Incident: 4- 0.9 -Jol'T
Gansta

Date Received by Grievance"Officer; | |
f x h i 1

Inmate's N

Tastitution:

 

Grievance Officer's Signature:

 

    

  

 
 

‘STEP 1 - Grievance: include documentation and names of any witnesses to support your claim. For your
grievance to be accepted, you must state the relief requested. Use additional pages, if necessary.

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Date: S=5$—=Ant'T
Relief Requested: .
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Inmate's Signature:

 

 

by

 

STEP 2 — To Be Completed by the Grievance Officer:

A. __ Your grievance is accepted for consideration.

B.__ Your grievance is being returned to you because of the following reason:
__ 1. The grievance is not readable.
__ 2. The matter has been answered in previous grievance #:
_. 3. The grievance concerns material not grievous under present policy.
_ 4. The grievance is a group grievance or petition. (Submit individually.)

5. The grievance is not timely.

6. Other Specify:

 

 

 

Grievance Officer's Signature: Date:
Page #1
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Centurion

off New RAGMICO

Response to Inmate Formal Grievance

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Inmate Name
Gonzales, Nick
NMCD # 48218
Date of Formal 5-5-2017
Grievance
Date of incident 4-29-17
Date Received 5-15-17
Date Answered 5-22-17
Nature of Grievance Patient is requesting HCV treatment
Requested Relief One million dollars and medical practice change
Response/Resolutio Attached is the current guidelines and an email showing current
n priority of patients being given Hepatitis
Under the State of New Mexico's guidance, you currently fall into
priority 4 Stage 0-1 fibrosis and all other cases of Hepatitis C. You
fall into this category because your APRI is 0.367
Your other disqualifiers are: Disciplinary and Compliance with
appointments/medication.
You are not being denied medical attention as you are followed by
madical in Chronic Clinic and you are able fo access medical care
through a health service request.
You are not being denied equal protection under the law because
everyone with Hepatitis C must meet the same qualifiers.
a —
Prepared By P. Farnum, HSA?

 

 

 

 
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Sec@

MEMORANDUM «| 4 Corrections
RN

L Northeast New Mexico Detention Facility
185 Dr. Michael Jenkins Road
Clayton, New Mexico 88415

Date: May 25, 2017 ww geogroup.cam
To: Nick Gonzales #48218
cc: File

From: J. Beatty Grievance Lieutenant

RE: GRIEVANCE INVESTIGATION AND RECOMMENDATION LOG 17-05-12
On May 15, 2017 Grievance was received from Nick Gonzales #48218. This grievance is filed
concerning your medical treatment. You state you are being denied medical treatment for your
condition. You are not being denied medical attention as you are treated at Chronic Clinic, You
are classified as a Priority 4 as specified in the plans prescribed for treatment and classification.
All inmates follow the same qualifiers and classification.

 

RECOMMEND GRIEVANCE BE RESOLVED.

Ay May 25, 2017
Gplewanet Lieutenant’s Signature Date

 

STEP 4 — Decision Of Warden/Designee:

Denied ( ) Granted ( ) Dismissed ( ) Resolved (o' Referred ( )

 

 

 

TSN Sv Bo7F

Signature /; Date
Date Returned To Inmate: 4 /, f /?

 

 
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Vv. PRAYER

WHEREFORE it is demanded the Court issue judgment against the defendant(s) as
follows:

 

 

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A.M 97504

[THIS NEXT SECTION MUST BE COMPLETED REFORE A NOTARY PUBLIC]

 

Date

I, the Affiant, first being duly swor have read the foregomg pleading and declare that the
information contained therein is true and | the best of my knowledge.

(i

fsf f

STATE OF NEW MEXICO

 

OFFICIAL SEAL PUBIAC

Fermin Lopez
NOTARY PUBLIC My Commission Expires: ELL4 [2021 _

STATE OF NE W, MEXICO

 

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